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          Case Information


          21-SF-006855-A|The People of the State of California vs. Alexander Levy

          Case Number                             Court
          21-SF-006855-A                          Criminal
          File Date                               Case Type                         Case Status
          06/07/2021                              Complaint                         Active




1 of 1                                                                                                      6/J/23.    PM
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                THE COURT:     This is the matter of People vs.

   Alexander Levy.

                Your appearances, please.

               MS. DAVIS:      Good morning, Your Honor.

   Dominique Davis for the People.

               MR. BARTON:      And Ban Barton and Camden Vilkin


   present on behalf of Mr. Levy.          He's present out of

   custody.

               THE COURT:      Good morning. Counsel.

               MS. VILKIN:      Good morning. Your Honor.

               THE COURT:      All right.     And we ready to go?

               MS. DAVIS:      Yes, Your Honor.      The People do

   need to file an amended Complaint prior to the start of

   the preliminary hearing.

               THE COURT:      I seem to be in possession of that

   Has that been provided to counsel?

               MS. DAVIS:      It has. Your Honor.

               THE COURT:      And waive formal reading and

   advisement of rights as to the amendments?

               MR. BARTON:      So waived.


               THE COURT:      I assume you'll renew the same

   pleas.

               MR. BARTON:      There -- a plea of not guilty is

   entered.    I believe the amended Complaint conforms to a

   case that came out after the filing of the original

   complaint in this document so we have in objection.


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                  THE COURT:        All right.   There being no

         objection, it will be filed.

                   Any motions before we begin?

                   MS. DAVIS:       Yes, Your Honor.   The People do ask

         to designate Deputy Currie as our investigating officer.

                   THE COURT:       He'll be so recognized.

                   THE CLERK:       Can I get a spelling, please?

                   THE WITNESS:       C-u-r-r-i-e.

                      THE COURT:    Thank you, Sergeant.

                      MR. BARTON:    I make a motion to exclude


         witnesses.     There's probably only two witnesses, so it
 I
 I may be a mere formality. But I will make that motion
 I anyways.
 I


                      THE COURT:    We'll recognize the formality for

         what it's worth.


                      MS. DAVIS:    There are. Your Honor, three

         witnesses.     For the Court and counsel's information, one,

         who will be the third witness I call, is printing images

 i right now.           I imagine he will come in mid-testimony of
 I
 ' Sergeant Currie.           I will stop, get the images, and have

 I him wait outside.
 i


 I                    THE COURT:    That's fine.
 i                    MS. DAVIS:    Thank you.
 !


     I                THE CLERK:    Counsel, do we need to address
 ! Counts 2 and 3?
     i
     I                MS. DAVIS: So we just filed the amended, but
                                     ROUGH DRAFT
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   do you want me to put it on the record?

                So the exact amendment that was made,

   Your Honor, is Counts 2 and 3, which are violations of

   Penal Code Section 311.11(c)(1) and (c) (2) , used to be

   their own substantive charges.          A case has come down

   since the filing of the original Complaint that says that

   those are actually special allegations.             They cannot be

   their own stand-alone charges.          And so that is what the

   amendment is.


               THE COURT:      That's fine.     You both had referred


   to a case.     Do you want to enlighten me?

                MS. DAVIS:     I will, Your Honor.       I'm looking it

   up right now.      Sorry.

                THE COURT:     I must be behind on my --

                MR. BARTON:     Oh, the --

                MS. DAVIS:     I have it.     It's De La Cerda, D-e

   L-a C-e-r-d-a, vs. Superior Court, 75 Cal.App.5th 40.

                THE COURT:     Got it.    Thank you.

                MR. BARTON:     I have a hard copy if the Court

   wants to review it.


                THE COURT:     I don't think it's going to affect

   me one way or the other.

                MR. BARTON:     I agree.

                THE COURT:     So let's get started.

                MS. DAVIS:     Thank you. Your Honor.        At this

   time


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                                                                           1
                 MR. BARTON:      And there is has been a motion to

     suppress filed to be heard contemporaneous with the

     preliminary examination.

                 THE COURT:       Thank you for bringing that to my

     attention.      Let me find the -- that was filed back in

     January?

                  MR.   BARTON:    Yes.


                  THE COURT:      And that's pending as of today?

                  MR. BARTON:      Yes.   And it was filed with the --

     in anticipation of it being heard contemporaneous with

     the prelim.

 I                THE COURT:      Give me a minute to take a look at
     that.   Okay?      So I know -- both counsel could just

     enlighten me as to what the 1538 issue is so that I'm

     aware of it as the facts come in.

                  MR. BARTON:      Certainly.

                  In this case, there was a report from Dropbox

     to the National Center for Missing and Exploited

     Children, which we refer to as NCMEC.         And NCMEC then

     provided a CyberTip that went to a police officer,

     Officer Currie.      And after receiving that CyberTip, he

     opened and watched the videos that were referenced in the

     CyberTip.

                  There's conflicting authority on the legality

     of that.     Where there's a government search that merely

     replicates what a private party has already searched and

                                   ROUGH DRAFT
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   doesn't go beyond the scope of the private party search,

   then that's authorized.         If the -- there has been --

               THE COURT:      I take it the theory is that

   someone has sort of published it, if you will, and it's

   in the public domain?

               MR. BARTON:      Right.    Exactly.

               THE COURT:      A plain view, if you will.

               MR. BARTON:      Right.    That the individual has

   already lost their expectation of privacy because a

   private party without government involvement has exposed

   whatever it was.

               The -- one of the main cases on this involves

   an interception by a private party of, I think, a

   pornographic film.       And they look at the wrapping for the

   film, and they say. We should give this to the feds.                And

   the feds look at it, and they play the film.              And they

   say that the intrusion of playing the film was more an

   intrusion than looking at the wrapping and that that

   violated the person's expectation of privacy and was an

   illegal search.

                In this context, there are two cases that are

   both about the same case. People vs. Wilson.              The

   California Court of Appeal opinion finds that it's a

   lawful search.      And a federal Ninth Circuit opinion based

   on the same facts for the same individual has found that


   it's an unlawful search.



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               THE COURT:     And I take it both those cases are

   final?


                MR. BARTON:     Yes.


                THE COURT:    Got it.


                MS. DAVIS:    And, Your Honor, in both of those

   cases, it's the same defendant.          He was charged in the

   state and federally.       He filed 1538s in both.         They were

   both denied.     He appealed both.       So it is the same set of

   facts.


                The People's main arguments for the Court is

   the state case, which says a warrant is not needed, is

   binding on this Court.        The federal case, which says
   something different, is not and, in the People's

   position, should be disregarded.           And lastly, there's a

   major fact difference between this case and the case --

   Wilson case in that the Wilson case involved Google

   identifying child sexual abuse material via hashtag
   technology, so an algorithm --

                MR. BARTON:     Your Honor, I ask the witness be

   removed during this argument because we're having the

   discussion regarding the significance of the testimony.

               THE COURT:     Before we go any further -- you

   guys are arguing stuff.        I haven't read any of the

   pleadings.     I don't have any of the facts in front of me.

   I get the gist of this.        Let's get to work.

               And I would suggest the first step that we take


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   is I would like you to address with your client
   the one-session rule because I have a feeling I'm going

   to have some reading to do when all the evidence is in,

   and I'm not going to shoot from the hip on a decision

   like this when I've got conflicting cases.              Okay?

               MR. BARTON:      Yeah.    May I voir dire my client?

               THE COURT:      Please.


               MR. BARTON:      Mr. Levy, do you waive your right

   to a continuous preliminary examination in this case to

   allow the Court to take breaks or consider other business


   or do research and then reconvene at a later date to


   continue to hear your matter?

               THE DEFENDANT:       Yes.


               THE COURT:      All right.     Thank you.     I'll accept

   that as a knowing, intelligent waiver of Mr. Levy's right

   to a one-session preliminary examination.

               And you join in that waiver, Mr. Barton?

               MR. BARTON:      I do.


               THE COURT:      Very well.     And I agree we

   shouldn't be arguing law in front of witnesses.

               MS. DAVIS:      I was responding to defense's

   argument.

                THE   COURT:   I understand.      But let's    --   we'll


   save it for when all the evidence is already in.

                MS. DAVIS:     Okay.     Thank you.

                At this time. Your Honor, the People call


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   Tobias Wulff to the stand.


               THE COURT:     Come on up here.       Please stand next

   to this beige chair, face the clerk, and raise your right

   hand.


               THE CLERK:     Do you solemnly state under penalty

   of perjury that the evidence you shall give in this

   matter shall be the truth, the whole truth, and nothing

   but the truth?


                THE WITNESS:     I do.


                THE CLERK:    Thank you.      Please be seated.

               And for the record, can you state and spell

   your first and last name, please?

                THE WITNESS:     Yes.    My name is Tobias Wulff.

   First name Tobias, T-o-b-i-a-s.          Last name Wulff,

   W-u-l-f-f.


                THE COURT:    Mr. Wulff, first of all, I'm not

   sure that that microphone is on.

               Thank you.

               Have you testified before?

               THE WITNESS:      I have not.


               THE COURT:     Okay.     So a few quick rules of the

   road.   Please make yourself comfortable.           Move the mic

   any way you want to so you sit comfortably and speak into

   the microphone.

               Please wait until the attorneys' question is

   complete before you begin your answer, even if you know


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                                                                                9
   what the answer is before they stop.            If two people are

   speaking at the same time, it makes it very difficult for

   the reporter to accurately record the proceedings.

                If an objection is lodged by the opposing party

   of the questioner, please do not answer until 1 have a

   chance to rule on the objection.           "Sustained" means

   you're not to answer.        "Overruled," you may answer.

                You with me?


                THE WITNESS:      With you.

                THE COURT:     Any questions?

                THE WITNESS:      Not so far.


                THE COURT:     Let's go.

                MS. DAVIS:     Thank you.

                               TOBIAS WULFF,

                called as a witness on behalf of the People,

   having been first duly and regularly sworn, testified as

   follows:


                            DIRECT EXAMINATION


           Q.   BY MS. DAVIS:      Mr. Wulff, how are you employed?

           A.   I'm employed by Dropbox, and I'm the content

   safety manager.

                MR. BARTON:      Excuse me.     The what manager?

                THE WITNESS:      Content safety manager.

                MR. BARTON:      Thank you.

           Q.   BY MS. DAVIS:      As a content safety manager,

   what are your duties?


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                                                                                10
            A.   My duties are to run a team that reviews and

      enforces Dropbox's AUP or acceptable use policy.

            Q.   Are you familiar with the term "CyberTip"?

            A.   I   am.


            Q.   And will you please briefly describe for us

      what a CyberTip is?

            A.   A CyberTip is the result of a review specific

      to child sexually explicit material that is provided to

      NCMEC, the National Center of Exploited and Missing

      Children [sic] .

                 THE COURT:    I'm going to ask you to try and

      keep your voice up.     I often tell witnesses use your

      outside voice.


                 THE WITNESS:    You got it.

                 THE COURT:    All right.     Thank you.

            Q.   BY MS. DAVIS:    Now, is there a procedure that

      DropboX; Incorporated employs in order to enforce this

      AUP, as you call it?

                 MR. BARTON:    Objection.     Vague as to time.

  j              THE COURT: Do you understand the question?
  I
  j              THE WITNESS: I was going to ask for a
  I
  1



  I clarification.

  j              THE COURT:    Why don't you restate it?

            Q.   BY MS. DAVIS:    Okay.    Is there -- when CSAM is

  ; located in a Dropbox user's account, is there a certain
  t

 } procedure an employee must follow upon locating it?

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                MR. BARTON:     Objection.      Vague as to time.

                THE COURT:     You know, sustained.        I'm not sure

   exactly -- give me a second so I can open a file.

                Now you want to restate the question for me?

   Because I'm -- I was distracted.           Please go ahead.

           Q.   BY MS. DAVIS:      Okay.    My understanding -- and

   maybe I misheard -- is that part of your team's job is to

   identify child sexual abuse material.             And just so that

   we don't have to keep saying that, it's CSAM, C-S-A-M.

   Is that correct?


           A.   Yes.


           Q.   Okay.    So what I'm asking is what is the

   company's policy and procedure for your team when that

   CSAM has been identified?

                MR. BARTON:     And I will renew my objection of

   vague as to time.

                THE COURT:     Yeah.    What was it at the time of

   this offense is what your objection is.

                Did you understand the question in that

   fashion?

                THE WITNESS:      I understand the question.

                THE COURT:     You may answer it with that

   amendment.


                THE WITNESS:      The answer is yes.       At the time,

   we have a process to review CSAM.

                THE COURT:     What was the process?


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                                                                                12
                 THE WITNESS:    The process is to review whatever*

      peace of content that a reviewer comes across.           And we

      follow pretty strict policy and protocols that involve

      things like the Tanner scale to identify age as well as

      the actual acts within the piece of content.

            Q.   BY MS. DAVIS:     Okay.     Now, when you say

      "review," does that mean that a Dropbox employee actually

      visually sees the CSAM content?

            A.   That is correct.

            Q.   And is part of the policy and procedure of

      Dropbox to then create a -- or generate a CyberTip to be

      forwarded to NCMEC?


            A.   That is in compliance with the law.          We are

      obligated by law to do so.

            Q.   Okay.   And in that CyberTip, does Dropbox

      include information about whether or not the employee had

      seen the image?

                 MR. BARTON:     Objection.    This appears to be

      calling not -- if this is just about policy and practice,

  i I don't have an objection.        If this is about what
  I


  I happened on this occasion, I do have an objection.
  I              THE COURT: No, I understand. I understood the
 I question still to be in the general policy realm.
                 Is that correct, ma'am?

                 MS. DAVIS:     Yes, Your Honor.

                 THE COURT:     Overruled.



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                THE WITNESS:      Yes.


           Q.   BY MS. DAVIS:      Okay.    And is the employee

   required to include a classification, as you called it,

   of what kind of CSAM material they believe they've seen?

           A.   Yes.


           Q.   And can you for us briefly describe what that

   classification is or how it works?

           A.   The classifications range from a taxonomy of

   Al, A2, Bl, and B2.        And that is dependent on the age of

   the subject in the content.           And the number is correlated

   to the specific act within that piece of content.

           Q.   I would like to show you what has been

   previously marked as People's Exhibit 1.             It has been

   provided to defense counsel in discovery.              It is a

   six-page document.        I'd ask you to look at these six

   pages and tell me if you recognize what this is.

                MR. BARTON:      Is that the CyberTip report?

                MS. DAVIS:     Yes.


                THE WITNESS:      Yes.     That's exactly -- it looks

   like a CyberTip report.

                (People's Exhibit 1, having been premarked,

   identified for the record.)

           Q.   BY MS. DAVIS:      Okay.     Now, when you look at

   that document, does it comply with the policies and

   procedures of Dropbox, of the requirements?

                MR. BARTON:      Objection to the form of the


                                 ROUGH DRAFT
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                                                                                14
  i question.     This is a document generated by NCMEC.           And I
  i
  I don't believe that a document generated by NCMEC can
  i

  I either conform or not conform with the Dropbox policy.
  1




  I               THE COURT:   NCMEC is a separate entity from

      Dropbox?    That's your point?

  j               MR. BARTON: Right. NCMEC is -- it's a
 ! quasi-private interrelated-to-the-government organization
  i

      called the National Center for Missing and Exploited

      Children.    And this is a document produced by NCMEC in

      response to the tip from Dropbox.

                  THE COURT:   Got it.


                  MS. DAVIS:   If I may, Your Honor?

                  THE COURT:   Go ahead.


                  MS. DAVIS:   This witness is testifying, based

      on his experience and his role, to information that

      Dropbox employees are required to put inside of a

      CyberTip.    This is a CyberTip, as he has now recognized

  l it.    I think he can testify whether or not the
  I
  I
  I

      information included matches the policies of their

      company.


                  THE COURT:   So if I understand correctly.

      People's 1 contains information provided to NCMEC by a
      Dropbox employee; correct?

                  MS. DAVIS:   That's correct. Your Honor.

                  THE COURT:   Overruled.


                  You can answer.



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                                                                                !5
                THE WITNESS:      Can you please repeat?

           Q.   BY MS. DAVIS:      Yes.

                Based on your review of that CyberTip, does the

   information contained therein comply with the

   requirements of Dropbox employees upon locating CSAM?

           A.   Yes.


           Q.   And just for the record, on the first page, is

   that CyberTip Report Number 73001154?

           A.   Yes.


           Q.   Okay.    Now, you previously testified that you

   have -- or Dropbox has a legal obligation to report CSAM

   when it's found.       When those reports are being made, are

   they at the behest or request of law enforcement?

                MR. BARTON:     Objection.      Calls for an opinion.

   Kind of calls for a legal conclusion.

                THE COURT:     Yeah.      As I understand it, it's

   a -- when you say "a legal obligation," that's a

   statutory obligation.        That's what you mean; correct?

                MS. DAVIS:     Yes.    I guess, technically.

                THE COURT:     Yeah.      And it does call for a legal

   conclusion.      Sustained.


           Q.   BY MS. DAVIS:      Okay.     I'm going to go back to

   your job.     How long have you been in this position?

           A.   I joined Dropbox in April of this year.

           Q.   And what training and experience did you have

   to receive to become a manager of your team?


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                                                                                16.
           A.   Ample training revolved around many documents, *

   training workflows through presentations, again, that go

   into the depths of exactly defining what is and isn't

   CSAM.


                MR. BARTON:     May I make a motion to strike the

   totality of his testimony regarding policies that were in

   place in 2020 before he joined Dropbox as hearsay?

   Because I think there needs to be some foundation.

                 THE COURT:    Do you wish to be heard?

                 MS. DAVIS:    I'm getting to the foundation as

   I'm speaking with this witness. Your Honor.

                 THE COURT:    Okay.   Subject to a motion to

   strike.      If she can lay a proper foundation, we'll deal

   with it then.


                 Go ahead.


           Q.   BY MS. DAVIS:     And did part of that training to

   be in your position go over what your obligations are as

   a member of Dropbox if you locate CSAM material?

           A.    Yes.


           Q.   And what are those obligations that you were

   trained in?


                MR. BARTON:     Objection.     Relevance and hearsay

   and -- and irrelevant as to time.

                THE COURT:     I understand that was the relevance


   objection.     That's -- I'll take that under submission for

   a future motion to strike if she can't lay the foundation


                                ROUGH DRAFT
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   as to the duration of those procedures.                                      17


                With regard to hearsay, I understand it to be

   being offered what he understands his obligations are and

   therefore his state of mind.          It will come in for that

   purpose.


                MR. BARTON:     Thank you.

                THE COURT:     Go ahead.


           Q.   BY MS. DAVIS:      Are you aware of what the

   policies regarding locating CSAM materials are or were in

   May of 2020?

           A.   I have a rough understanding, yes.

           Q.   And what is that rough understanding based on?

                MR. BARTON:     Is my objection a continuing

   objection?

                THE COURT:     It's so understood.        Let's get

   through the foundation, and then you can argue it as to

   whether it's made or not.


                Go ahead.


                THE WITNESS:      One more time, please?

           Q.   BY MS. DAVIS:      Sorry.

                What is your rough understanding of the

   policies in 2020 based on?

           A.   My understanding is based on most of the same

   training material and policies that are in place today.

           Q.   And I guess I'll say, how do you know that the

   training policies were the same when you came into the


                                 ROUGH DRAFT
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                                                                                1-8
 ! company as they were in May of 2020?
           A.    Through historical documentation.
  i
            Q.   Okay.    And were those documents you received

      from the company?

           A.    Yes.


            Q.   Okay.    Are you aware -- it's okay if you're

      not, but are you aware when this obligation to report

      CSAM material to NCMEC came about?

            A.   I'm not fully aware.

            Q.   In your role as a manager, have you ever been
  j
  1 informed that policies had recently changed?
  I         A.   No.
  !
  j         Q.   Do you work with anyone who worked there in May

  I of 2020?
  j         A. I'm not fully sure.
  [         Q. Okay. And regarding the obligation to report,
  I where did you learn of that?
            A.   I learned of obligations, again, through

      training and reviewing our kind of workflow and policies.

      Part of that is explicitly calling out what our

      obligations are in relation to reviewing CSAM material.

            Q.   And in your training, do they inform you

      whether or not this is a legal requirement of the

      company?

                 MR. BARTON:    Objection.     Leading.

                 THE COURT:    Overruled.



                                ROUGH DRAFT
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                THE WITNESS:      Yes.


           Q.   BY MS. DAVIS:      And is it a legal requirement of

   the company?

           A.   Yes.


                MS. DAVIS:      Okay.    I don't believe I have

   anything further for this witness, Your Honor.               I believe

   the foundation has been laid.          If --


                THE    COURT:   Mr. Barton?


                MR. BARTON:     So I'm not -- is this just the

   foundation for his continuing to testify regarding

   policies, or are you resting with this witness?

                MS. DAVIS:      I'm resting with the witness, but I

   need to know if the motion to strike --

                THE COURT:      Well, that's why I'm inviting him

   to argue it.

                MR. BARTON:      So Mr. Wulff was not employed in

   2020.    He doesn't know if any of the people who are

   reviewers were doing it in 2020.           He has no firsthand

   knowledge about how the system worked in 2020.               He

   shouldn't be able to testify as to how things worked in

   2020.    It's all hearsay.

                THE COURT:      I have a little problem with the

   hearsay aspect.        It seems as though he can't even testify

   from personal knowledge that the policy -- he did testify

   that he believes the policies in place today were the

   same at that time, but that's hearsay.             He's not at


                                 ROUGH DRAFT
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                                                                                20
  I Dropbox two years earlier than his hire.
 !

  I               MS. DAVIS: But, Your Honor, he got the
  I
  I information from training and materials.            He's not saying

  I someone told him that. This is from materials that he
      received, so it's not hearsay.        It's his training.      It's

      his experience and what he had to learn in order to be in

  I the position that he is in.        So I do not believe it's
  I
  I based on -- or only based on hearsay.           It's not as though

      someone just told him something is the same.           He has

      reviewed documentation.      That is how he's getting this

      information.


                  THE COURT:    Go ahead.


                  MR. BARTON:    I think that that's classic

      hearsay.    You review documentation.      You believe the

      document.    That's just as if somebody had told him.

                  THE COURT:    In other words -- excuse me.        I'm

      sorry for speaking over you, Mr. Barton.

                  The documentation itself, not having been

      authenticated in court, is an out-of-court statement

      offered for the truth of the matter stated in the

      documentation.   It is hearsay.

                  MS. DAVIS:    I don't really believe it's offered

      for the truth of the matter asserted. Your Honor.

                  THE COURT:    Well, no.   His statement that the

      policy in 2020 based on something he read is being

  j offered for the truth of the matter of what he read.

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                                                                                o
    It's -- in terms of his state of mind, he believes it to

    be so.    But he can only believe it to be so if the

   statements in the documentation are, in fact, true.

                MS. DAVIS:     Well, in that case, Your Honor, the

   People would seek to identify this witness as an expert

    in Dropbox Incorporation's policy and procedure and

   reporting CSAM material.

                THE COURT:     Mr. Barton, do you wish to be heard

   on that?


                MR. BARTON:      I don't believe he will qualify as

   to the procedures in place at Dropbox in 2020 at the

   relevant time.       And in laying a foundation, I think we've

   exposed his lack of expertise regarding the practices of

   the individuals employed at Dropbox during the relevant

   time period.

                THE   COURT:   Let's talk about      whether   he


   qualifies as an expert witness in the current policies of

   Dropbox because I would suggest that that is something --

    what the policies are of Dropbox is something outside the

   kin of the trier of the fact.           I don't know what the

   policies are; right?        He can testify as to what they are

   today if he has expertise in that area because he manages

   that section.       He has particular expertise in the area.

   And he can rely on hearsay to say what the procedures are

   certainly today.       And then he could, I suppose, opine as

   to what they were two years prior to his hire.               I take


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                                                                                90
  I that to be the thrust of Ms. Davis's proffer.

  j               MS. DAVIS:    That's correct, Your Honor.
  [

  i

  I               MR. BARTON:    And I agree that he would likely
 ! qualify as an expert as to the present procedures and
  I suggest that the timing issue renders the relevant
  I
  I


  I testimony outside the scope of his expertise.
                  THE COURT:    In terms of what I know about -- I

      take it these were written procedures that you reviewed

      as part of your training; correct?

  i               THE WITNESS:    Yes.
  I
  I               THE COURT: All right. From what I know so
      far, I think his objection is well taken as to the

      connection of the timing.         Why don't you explore that a

      little bit with him as to how he knows the -- when those

      publications were generated, et cetera, if he does?

                  MS. DAVIS:    Okay.

                  THE COURT:    Go ahead.


            Q.    BY MS. DAVIS:    Do you have any idea how long

      Dropbox has been using the training materials that you

      received in the course of your duties?

                  MR. BARTON:    Objection to the form of the

      question.    It calls for hearsay.      "Do you have any idea?"

                  THE COURT:    Yeah.    Yeah.   Sustained as phrased.

            Q.    BY MS. DAVIS:    Do you know what written

      materials Dropbox required you to become familiar with in

      order to receive your position?        Do you know how long


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   Dropbox has used those materials?

                MR. BARTON:     Objection.     Compound.

                THE COURT:     Do you understand the question?

                THE WITNESS:      I believe I do.


                THE COURT:     You may answer.

                THE WITNESS:      Yes.   Those materials have been


   at Dropbox long before I joined.           And if I could add,

   classifying CSAM has remained the same as long as I can

   remember.


           Q.   BY MS. DAVIS:      Can you try -- or

   specifically -- when you're saying for a long time and

   for as long as you can remember, is that before May of

   2020?


           A.   Yes.


                MR. BARTON:     Objection.      Vague as to what we're

   asking is before 2020.

                THE COURT:     Sustained.


           Q.   BY MS. DAVIS:      Okay.    You talked about two

   things.      So the materials themselves, when you say that

   they have been used by Dropbox for a long time, I think

   is the words you used, does that mean prior to May of

   2020?


           A.    It does.


                 MR. BARTON:     Objection.     Outside the scope of

   personnel knowledge.

                 THE COURT:    Sustained as phrased.


                                 ROUGH DRAFT
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                                                                                '>4
                May I?                                                      .

                MS. DAVIS:     Yes.


                THE COURT:     The materials we're talking about,

   are they in hard copy, or are they online or both?

                THE WITNESS:     Online.    Or they're -- yeah.

                THE COURT:     All right.     So it's a document in a

   file in Dropbox's network?

                THE WITNESS:     Correct.     Internal document.


                THE COURT:     Got it.    And then is there anything

   on those internal documents that displays their last

   edited date?


                THE WITNESS:     It depends on the documents, but

   yes .


                THE COURT:     Right.    And the documents we're

   talking about are the training materials related to CSAM

   treatment and reporting?

                THE WITNESS:     That's correct.


                THE COURT:     And those have some sort of

   designated last edited date?

                THE WITNESS:     Yes.


                THE COURT:     Are you familiar with what the last

   edited date is on the materials we've been talking about?

                THE WITNESS:     I can't say for sure.

                THE COURT:     All right.     Next question.

           Q.   BY MS. DAVIS:     And would it refresh your

   recollection if you were the able to look at those


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   documents?


           A.   Yes.


                MS. DAVIS:        If I could have a moment,

   Your Honor?


                THE COURT:     Sure.      Of course.


           Q.   BY MS. DAVIS:       And are those located online for

   anyone to see, or would you have to be at the Dropbox

   location?


           A.   You would have to be a Dropbox employee.

                THE COURT:     So you could be off-site working

   from home on a VPN, and you can access the document?

                THE    WITNESS:    That's correct.


                THE   COURT:   Go ahead.


           Q.   BY MS. DAVIS:       So I guess I'm wondering then

   why you believe that the current policies regarding CSAM

   reporting have been in place for a long time.

           A.   Because when I on-boarded and joined Dropbox,

   part of my training was ample amount of reading and those

   documents that cover both historical and current


   policies.

                MS. DAVIS:        So I would make the same motion.

   Your Honor, to designate this witness as an expert in the

   policies and procedures of Dropbox as it applies to CSAM

    reporting.

                THE COURT:        Do you wish to be heard?

                MR. BARTON:        Yes.



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                                                                                26.
                 THE COURT:    Go ahead.


                          VOIR   DIRE   EXAMINATION


            Q.   BY MR. BARTON:     Regarding the procedures that

      were actually followed, have you spoken with people who

      did the reviewing work in 2020?

            A.   It's tough to say for sure.

            Q.   Do you know who was employed as a reviewer for

      Dropbox in May of 2020?

            A.   Our team is employed by contractors that are --

      have time limits on their allowed employment, so I can't

  ; distinguish who and who wasn't there.             The team is
  j
  1 relatively large, and because of that time limit, I can't
  I say for sure.
  I
  !
            Q. Are the people who do the reviewers employees
  : of Dropbox?
  i



            A.   I'm not a legal employment lawyer, so I don't

      feel comfortable answering that.

            Q.   Fair enough.

                 Is there a policy at Dropbox to maintain a link

      between who the reviewer is and the tip that results from

      their review?

  I         A. Yes.
  i
  ,         Q.   So as to this review, the CyberTip that's been

  j marked as Exhibit Number 1, does Dropbox know who
  i conducted the actual review?


  I              MS. DAVIS: Objection. Beyond the scope of his
                                 ROUGH DRAFT
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   expertise.
                                                                                I
                THE COURT;     Overruled.     No.    It's questioning

   his expertise.       Overruled.

                Do you understand the question?

                THE WITNESS:      I do.                                         '
                THE COURT:     You may answer.

                THE WITNESS:      Can you repeat, please?

           Q.   BY MR. BARTON:      Does Dropbox know who the                   j

   individual is that conducted the reviev; that resulted in

   the CyberTip that's been identified as Exhibit Number 1?
                                                                                j

           A.   Yes, depending on data retention.
                                                                                I

           Q.   And are there records at Dropbox that maintain

   a link between the individual reviewer and the material                      :

   that they identified as CSAM?                                                ^
           A.   Again, yes, depending on data retention

   policies.                                                                    I
           Q.   In your role as content safety manager, do you

   do any type of quality control to see whether the

   reviewers are actually following the policies of Dropbox?

           A.   Yes.


           Q.   And are you aware of the level of review that

    was in effect for reviewers in May of 2020?
                                       ,                                            i
           A.   I'm not understanding the question.

           Q.   Well, do you know whether there was any type of                     s

   review or quality control that was given to the reviewers |
    who were looking for CSAM in May of 2020?                                   |

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  I            A.     Yes.

  '            Q. And what was the level of quality control for
  ; reviewers looking for CSAM in May of 2020?

                      MS. DAVIS:   Objection.   Vague.

  I                   THE COURT:   Do you understand the question?

                      THE WITNESS:     Can you repeat?

  I             Q.    BY MR. BARTON:    Sure.   Let me ask a better

  I question.
                      Can you describe the quality control procedures

  j that Dropbox employed for the reviewers who were looking
  i for CSAM in May of 2020?
  i

                A.    Not confidently.

 !              Q. Have you done anything to learn about the
  I quality control procedures that Dropbox had in place to
  j
  I review the work of reviewers in May of 2020?
  I             A. It's tough to say.
  i             Q.    Does Dropbox keep records regarding quality

  I control of -- and performance of individuals employed to
  1
  i ,     .      ^
  ! be reviewers for CSAM material?

               A.     I didn't understand.

               Q.     Thanks.   When you don't understand, please make

          it clear.    And that's means I'm not doing my job well,

  i and I'll ask a better question.
      i


                      Does Dropbox maintain records as a type of

  ! performance review or accuracy of people who were

  1 performing reviews for CSAM in May of 2020?


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           A.    The data retention policies are out of my                      29


   scope.    I can't say.

                 THE   COURT:   Can I?


                 Just to clarify, when you refer to something

   called "data retention policies," can you explain that a

   little bit, what you mean by that?

                 THE WITNESS:      Sure.   So Dropbox, like any other

   company, has loads of data.           And some of -- retention is

   how long you keep it for, right, in keeping records.                 How

   long is out of scope.          They follow typical data retention

   laws that I'm not keen on.


                 THE COURT:     All right.      And so when you had

   said about linking the reviewer to a particular CyberTip,

   there is such a record subject to the duration of

   retention that is the policy of Dropbox; correct?

                 THE WITNESS:      That's right.

                 THE COURT:     If I may?       One more.

                 MR. BARTON:      Certainly.

                 THE COURT:     Are you aware of what the time

   period is for data retention for such a record?

                 THE   WITNESS:    I'm   not.


                 THE COURT:     All right.       Go ahead, Counsel.

   Pardon the intrusion.

            Q.   BY MR. BARTON:      Do you know who performed the

   review of the CSAM material at issue in the CyberTip

   73001154, which is now identified as Exhibit 1?


                                  ROUGH DRAFT
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                 MS. DAVIS:     Also, objection.     Doesn't go to his '
      expertise.

                   THE COURT:   To the contrary.     I think it does.

                   Go ahead.    You may answer.

                   THE WITNESS:    By name, no.

            Q.   BY MR. BARTON:      By some other identifier?

            A.     Not off the top of my head.

            Q.     Is that information that you had at one point

      but you no longer remember?

            A.     I can't confidently answer that.

            Q.     Has anybody told you not to report the identity

      of the individual who conducted the review for CyberTip

      that's been identified as Exhibit Number 1?

            A.     One more time, please?

            Q.     Has anybody told you not to remember or not to

      reveal the identity of the reviewer of the CyberTip

      that's been marked as Exhibit Number 1?

                   MS. DAVIS:   Objection.    Doesn't go to his

      expertise.

 !               THE COURT:     Yeah.   I agree with that.      And I

  I don't think he's -- I think he's testifying he can't
  j



 j conjure that name sitting here today.            But from my point
 I


 j of view as the trier of fact, what's important is whether
      he's capable of retrieving that name based on their data

      retention policy, if that makes sense. Counsel.

                 MR. BARTON:      It does.



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                THE COURT:     Please go ahead.

           Q.   BY MR. BARTON:      As content safety manager, are

   you the individual responsible for enforcing Dropbox

   policy as to how reviewers do their v/ork?

           A.   Yes.


           Q.   As to present Dropbox procedures and policies,

   do you keep records as to performance issues and quality

   control issues of reviewers looking for CSAM material?

           A.   Yes.    We have quality measures in place.

           Q.   Have you looked at those quality measures for

   how the reviewers perform their duties in May of 2020?

           A.   Please repeat.

           Q.   So I know you weren't working in May 2020.              In

   your role as content safety manager, have you looked back

   to May of 2020 to look at those metrics of job

   performance quality control for reviewers in May 2020?

           A.   Not explicitly.

                MR. BARTON:      I'd object to this witness being

   permitted to testify as to policies or procedures for

   2020 but certainly not procedures.            If he testifies that

   the policies were in effect or the policies weren't

   edited substantially and were very similar to what was in

   place in May 2020, he may be able to do that with a

   sufficient foundation.         I don't think that's been laid.

   But I don't think he's going to be able to testify about

   the procedures that were actually in place, about how


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  j people did their work in 2020 or specifically for this                      .■)Z




  1 CyberTip.

  1              THE COURT:    Ms. Davis?

  I              MS. DAVIS: Thank you, Your Honor.
                 As the Court is aware, all that is required for
  i
  i
  I an expert is that he have special knowledge, skill,
  j
      training, or education sufficient to qualify him as an

      expert on a particular subject to which his testimony

      relates.   This witness has said that he's reviewed

      current and historical data regarding Dropbox's policies

      and procedures when it comes to reporting CSAM material.

      That means that he has training and experience above that

      of -- whether it be you. Your Honor, or a jury, above

      that of the trier of fact, and he can explain those

      policies and procedures to the trier of fact based on his

      training and experience.      He then can opine as to what

      the policies and procedures were in 2020, and the Court

      then can weigh whether -- or give it as much weight as

      the Court would like.     But there is nothing about what

      this witness had testified to that suggests his testimony

      should be stricken and that he is not qualified to be an

      expert in this very small area.

                 THE COURT:    Indeed arcane.


                 Is the matter submitted?


                 MS. DAVIS:    Yes, Your Honor.

                 MR. BARTON:    Yes, Your Honor.


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                 THE COURT:    All right.     Thank you.

                 I'm going to allow him to testify as an expert.

   I agree it goes to the weight of his opinion given that

   he's relying on internal documents that he's familiar

    with.    And by all accounts, those documents set forth a

   procedure that he believes was in effect in May of 2020.

                 MS. DAVIS:    Thank you, Your Honor.

                 THE COURT:    Go ahead.


                        DIRECT EXAMINATION CONTINUED


            Q.   BY MS. DAVIS:     And SO if I can ask just for

   clarity.      In May of 2020, were reviewers of Dropbox

   users' accounts required to visually look at the content

    of the user account, classify it, and -- and classify it

   prior to reporting it to NCMEC?

            A.   Yes.


                 MR. BARTON:     May I have a standing objection on

    the vague as to time issue?

                 THE COURT:    No.    She said May of 2020.

                 MR. BARTON:     Great.    Thank you.

                 MS. DAVIS:    Thank you. Your Honor.

                 THE COURT:     Overruled.


            Q.   BY MS. DAVIS:       And lastly, just to clarify

    something that just came up on cross, you testified that

    you don't know if each reviewer legally is an employee of

    Dropbox.     But are reviewers required to follow the

    policies and procedures of Dropbox?


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                                                                                34
            A.    Yes.
  I
  I
  I
                  MS. DAVIS:     I have nothing further, Your Honor.

  ;               THE COURT:     All right.    And further cross.

                               CROSS-EXAMINATION


  j         Q. BY MR. BARTON: You indicated that you don't
  I know the identity, either name or some other identifier,
  I
  I
  j for the person who did the actual review. Is that record
      about who the reviewer was contained in any Dropbox

      record?


            A.    That's dependent on data retention.

            Q.    If 1 were to request that record, how would 1

      describe the record that reveals the identity of the

      reviewer?


                  MS. DAVIS:    Objection.     Relevance.

                  THE COURT:    No.    Overruled.


                  THE WITNESS:    How would you -- I'm not sure how

      you would request that.

            Q.    BY MR. BARTON:      Is that a document that you

      have access to when you're logged on to the Dropbox

      network?


                  MS. DAVIS:    Objection.     Vague as to "document"

      and beyond the scope.      He wouldn't know what a lawyer

      needs to do to request something from --

                  THE COURT:    No.    That's not what he's asking,

      what a lawyer has to do.        He's asking does he have access

      to the Dropbox document that identifies the link between


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   the reviewer and the CyberTip at issue in People's 1.                        35


                Did you understand the question that way?

                THE WITNESS:       I understood it the former.        How

   I understood it -- how he would, not how I would.

                THE COURT:     That's not what he's asking now.

   This question is do you have access -- correct me if I'm

   wrong, Counse1.

                Do you personally have access -- when you are

   in your Dropbox employee account performing your duties,

   do you have access to the document that links the

   reviewer of People's 1 to the CyberTip in People's 1?

                THE WITNESS:      It's less so much     a document and


   more so a data table that I would need assistance from


   somebody else.

                THE COURT:     But, again, that data table is

   subject to data retention policies of Dropbox; correct?

                THE   WITNESS:    That's correct.


                THE COURT:       So if it exists, you can get there?

                THE WITNESS:       With the assistance of a


   co-worker.


                THE COURT:       Got it.


                Go ahead.     And forgive me for intruding on your

   examination.

           Q.   BY MR. BARTON:      Are there documents that

   Dropbox maintains that will show the job performance and

   reviews for the person -- job reviews of the person who

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                                                                                36,
          did the review for CyberTip that's been identified as

          Exhibit Number 1?


                      MS. DAVIS:    Objection.    Relevance.

                      THE COURT:    No.    Counsel, if you're going to

          introduce Number 1, he's allowed to learn as much as he

          can about Number 1 and the production of it.         Overruled.

                      THE WITNESS:    Sorry.     Can you repeat?

                 Q.   BY MR. BARTON:      Yes.


                      Does Dropbox maintain records regarding the

          performance and quality and performance issues for the

          person who conducted the review that resulted in CyberTip

          Exhibit Number 1?


                       MS. DAVIS:    Objection.   He's testified he

          doesn't know who that person is.        Lack of personal

          knowledge.

                       THE COURT:    This is about policies and

          procedures as to --

                       MS. DAVIS:    That's not how 1 understood it,

      i   Your   Honor.


                      THE COURT:     Well, how did you understand the

  I question?
      i



                       MS. DAVIS:    It's whether or not Dropbox
  j
 ; maintains records for the person who created the CyberTip
  i
  I that has been put forth as People's 1. That's a specific
  I person.
                      THE COURT:     Another way of saying it,


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   Mr. Wulff, is does Dropbox have a policy of maintaining                      37


   job performance records of people who act as reviewers of

   this type of material?

                THE WITNESS:      Yes.   But, again, it's dependent

   on retention policies as well as, you know, who is and

   isn't employed at Dropbox anymore.

                THE COURT:     Understood.


                Go ahead.


           Q.   BY MR. BARTON:      Do you have Exhibit Number 1 in

   front of you?

           A.   The CyberTipline report?

           Q.   Yes.

           A.   Yes.


           Q.   Looking at the front page of that, is that

   something that's generated by Dropbox?

           A.   I believe you already called out that this is a

   document from NCMEC.


           Q.   And going to page 2, which says "Contents,"

   that's not something that's generated by Dropbox?

                So I'm talking about the second page, not the

   page that has the number 2.           I'm talking about the page

   that's on the back of the cover that says "Contents."

           A.   Second A, Section B, and Section C?

           Q.   Well, no.     I'm talking about the page before

   Section A that's marked "Contents."

           A.   This page right here?


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                                                                                38
           Q.    Correct.

                 THE COURT:    That appears to be what he's

      looking at.

                 THE WITNESS:    Some of these things are what

      Dropbox provides to NCMEC.

            Q.   BY MR. BARTON:     So looking at pages that are

      numbered pages 1 through 5, does that contain NCMEC's

      report of information that was provided by Dropbox?

            A.   Could you rephrase the question, please?

            Q.   Yes.

                 Does the pages numbered 1 through 5 reflect

      NCMEC's report of information provided by Dropbox?

  I         A. If you're referring to uploaded file
  ■ information --


            Q.   I'm looking at all of Section A.

                 THE COURT:     You want to approach with that

      document and just show him what you're talking about?

                 MR. BARTON:    Sure.    Approaching the witness.
  i

            Q.   BY MR. BARTON:     Do you see a portion that's

  I marked as Section A?
  i
  I

            A.   Right here on the same page?

  I         Q.   No.    Referring to here.     And then there's page
  I numbers there.
  I              So looking through page 1 through 5, is that
 j
 ! NCMEC's report of the information provided by Dropbox?

  I         A.   The information with each of these pages and

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                                                                                39
   uploaded file information is information provided by

   Dropbox.

           Q.   And when we say "provided by Dropbox," hov; does

   it get from the content reviewer to NCMEC?

           A.   A reviewer reviews content and classifies it.

   And upon that classification, a CyberTip is generated.

           Q.   So it looks like the submitter is identified as

   Dropbox legal team.        That's in the first section of

   Section A on page 1.        Is this submitted by Dropbox legal

   team?


           A.   Content safety is a function of the legal team,

   yes.


           Q.   So are the reviewers part of the Dropbox legal

   team?


           A.   Under the umbrella of the legal team, yes.

           Q.   So does the reviewer him- or herself submit the

   material to NCMEC, or does it go through any

   intermediates between the reviewer and the filing of the

   CyberTip to NCMEC?

           A.   I'm not sure what an intermediary would be

   here.    Could you clarify, please?

           Q.   Well, what I'm asking is, in May of 2020, did

   the content reviewer directly file the report to NCMEC?

   Or did the content reviewer give the results of their

   review to some other person, and that other person

   provided the information to NCMEC?


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                                                                                40 .
             A.     Another person did not provide the information

      to   NCMEC.


                    THE COURT:     So it goes directly from the

      reviewer to NCMEC?


                    THE WITNESS:     When a reviewer reviews and

      classifies the content, upon that action, it gets

      directly submitted to the NCMEC.

  j                 THE COURT: Thank you. I think that's
  I precisely what he was asking.          Thank you.

              Q.    BY MR. BARTON:    Now, in some of these, if we
  i

  j look at -- well, let's look at the first one on page 2.
      There's a file that's identified as "uploadlog.csv."
  i
  i           A.    I see it.


  I           Q. And there's a question: "Did reporting ESP,"
  i
  I meaning electronic service provider, "view entire
  i



  j contents of the uploaded file?" And the answer is "Yes."
  I                 What is the procedure employed by Dropbox to
  1
  I

  I make sure that the reviewer actually reviewed the entire

  I file?
  !           A.    The only way for this question to be answered

      as yes is if a reviewer has reviewed and classified the

      content.


              Q.    So let's say that we're talking about a video.

      It looks like the second one is an MP4, which is probably

      a video; right?

              A.    Correct.



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           Q.   So let's say that the viewer reviewed the first                 41


   three seconds on that video and, based on that, was able

   to make a classification and didn't review the remaining

   three minutes of the video.          How would we know whether

   that occurred?


           A.   Based on our training, we are required to.

           Q.   So based on -- do you know what the -- so you

   don't know who trained this reviewer; right?

           A.   I do not.


           Q.   And you don't know what type of quality control

   there was for this reviewer in May 2020; correct?

                MS. DAVIS:     Objection.     Asked and answered.

                THE COURT:     Sustained.     I believe that has been


   answered previously.

           Q.   BY MR. BARTON:      Is the entry of "yes" to that

   question data that's input by the reviewer him- or

   herself?


           A.   No.   That is generated upon classification and

   submitting the review.

           Q.   What does that mean, "generated upon

   classification"?


           A.   NCMEC has an API that Dropbox uses that, again,

   upon classification of CSAM, will generate this answer.

                THE COURT:     Can I just -- for my own

   clarification?


                You've got to help me with the acronyms.             API?


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                                                                                42
                    THE WITNESS:     I'm actually not 100 percent sure

          on the acronym myself, but it is a --

                    THE COURT:     What does it refer to?


                    THE WITNESS:     It is basically the CyberTipline

          form.   So if you have go to the website of NCMEC, you can

  I kind of manually upload the file, et cetera, et cetera.

  1 This kind of automatically does that upon somebody
  j
  I reviewing something.

  i                  THE COURT:     So if I -- may I?
  !
                     If I understand the path of your testimony on

          this point, going back to his earlier question, let's say

          there's a video that's three and a half minutes.        The

          reviewer watches the first 30 seconds and says. Oh, yeah

          that's A2 or whatever, uploads it, the A2 judgment, as it

          were, to the NCMEC file.      Then NCMEC generates the "yes"

          as to the review of the file?

  I                  THE WITNESS:    Not quite.    If we classify

  I something as A2, it would be marked as "yes."
  j
  j                  THE COURT:     Okay.   Forget about what
  j


          classification I chose.      Just the fact of a
  i
  I classification --

  I                  THE WITNESS:     Correct.

  j                  THE COURT:     -- would generate from NCMEC a
  1

  I "yes, reviewed the entire file" notwithstanding that the
      t
      I

  I person stopped three minutes before the end of the file,
  I
  I the reviewer?
                                     ROUGH DRAFT
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                                                                                43
                THE WITNESS:      I would not say that NCMEC is

   answering that question.

                THE COURT:     Okay.    So it's the reviewer

   answering the question by uploading a "yes"?

                THE WITNESS:      The answer "yes" is caused by the

   reviewer's classification.

                THE COURT:     Got it.    I think I understand.


                Go ahead.


           Q.   BY MR. BARTON:      So that would be a default

   answer that is put in based on the form that NCMEC has

   the reviewer fill?

           A.   Yes.    If something falls between A1 and B2, the

   answer would be yes.        And if it is not considered CSAM,

   then nothing happens.

           Q.   So the answer "yes" is not something that is

   input by the reviewer.         It is something that's generated

   by the NCMEC report form?

           A.   Yes.    But it is not generated by NCMEC

   themselves.      It is generated by a tool that we use due to

   our action.


                THE COURT:     That is to say the classification

   that's imposed by the reviewer is what triggers the

   default answer; is that correct?

                THE    WITNESS:   Correct.


                THE COURT:     Thank you.

           Q.   BY MR. BARTON:      So if a reviewer reviewed a


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                                                                            1 44
   portion of a file and reached a classification, it would

   indicate "yes" regardless of whether the reviewer

   actually reviewed the entire file; is that correct?

           A.   Yes.


                THE COURT:     Regardless of what classification

   they reach?

                THE WITNESS:     If it falls between A1 and B2,

   then yes.

                THE COURT:     Okay.

           Q.   BY MR. BARTON:      And when you say "between A1

   and B2," you mean whether it's classified Al, A2, Bl, or

   B2, any of those four classifications result in "yes"

   appearing in the CyberTip report?

           A.   That's correct.      That falls under CSAM.

           Q.   Looking back at Exhibit 1, the NCMEC report --

   and I'm looking at the page numbers on it.             So I'm

   looking at pages 6 and 7.         Are pages 6 and 7 information

   generated by NCMEC and not by Dropbox?

           A.   6 and 7 is referencing Section B portions?

           Q.   Yes.   Yes.


           A.   These are describing classifications and

   definitions.      I believe these are on -- page 6, I

   believe, is provided by NCMEC.          And portions of page 7,

   like the file name, are provided by Dropbox.

           Q.   So there's a categorization column. Section B

   on page 7.     And regarding all except two of the files


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   that are addressed, the categorization is unconfirmed; is                    45


   that correct?


           A.   That's how it reads, but I'm not sure who is

   providing that.

           Q.   And as to another, the categorization is "child

   unclothed," correct, the third one -- no.              The second

   one?


           A.   Correct.


           Q.   And as to the fourth one, it says "apparent

   child pornography"?

           A.   Correct.


           Q.   And as to all the remaining ones, presumably

   another 10 or 12, it's unconfirmed; correct?

                MS. DAVIS:     Objection.      He testified he doesn't

   know what that --       where that comes from.


           Q.   BY MR. BARTON:      Correct?

                MS. DAVIS:     1 just objected.

                THE COURT:     1 think he's not asking where it

   comes from.      He's asking what the report says.

                MS. DAVIS:     1 think it's a different question

   because he's asking is it unconfirmed, an answer to that

   question.

                THE COURT:     1 don't have the document in front

   of me, so it's hard for me to follow along.              But --

                MR. BARTON:      If it's okay with opposing

   counsel, I'll provide a copy of the report to the Court.


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                MS. DAVIS:      That's fine.

                THE COURT:      Thank you.

                And we're talking about which page?

                MR. BARTON:      Page 7.     The page numbers are in

   the upper right-hand corner.

                THE COURT:      Yeah.   There's -- this is the

   page 7 I'm looking at.         Am I looking at the right page?

                MR.   BARTON:    No.


                THE COURT:      What a surprise.

                MR. BARTON:      It's the second page of Section B.

   I hope I gave the Court a full copy.

                THE COURT:      You might want to take a second

   look at this.


                MS. DAVIS:      Your Honor, can I just give you my

   computer for now?

                THE   COURT:    Sure.


                Here's what I have as Section B, Mr. Barton.

   Yeah.    That's not what's on that page 7.

                MR. BARTON:      It is not what's on that page 7.

   This appears to be different from Exhibit A -- Exhibit 1.

   I'm sorry.

                THE COURT:      That's okay.    I get it.

                MR. BARTON:      I don't know why there are

   different copies in existence of --

                THE COURT:      I'm the one who is in the dark


   here, Mr. Barton.


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                MR. BARTON:     Well, I'm in the dark on that

   issue as well.

                THE COURT:     Can I make a suggestion?         Why don't

   with take a break.       Let's take a break until

   11:00 o'clock.      You guys can get the documents in order.

                I understood, just for your edification,

   Ms. Davis, much of this testimony and questioning goes to

   the motion to suppress more so than the prelim, and that

   has animated the rulings I've been making.

                We're in recess.


                MR. BARTON:     Thank you.

                MS. DAVIS:     Thank you. Your Honor.

                (The proceedings were in recess.)

                THE COURT:     We're back on the record.


   People vs. Levy.

                And you may continue your examination.

           Q.   BY MR. BARTON:      Mr. Wulff, on Exhibit 1, the

   copy you have in front of you, there's a Section B.                That

   Section B is entitled "Automated Information Added by

   NCMEC Systems"; correct?

           A.   Yes.


           Q.   And the information there is not information

   provided by Dropbox?

           A.   It doesn't sound like it, but the file names

   are file names from Dropbox.

           Q.   If we go to the next section. Section C, that


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   section is entitled "Additional Information Provided by

   NCMEC"; correct?


            A.   Yes.


            Q.   And the NCMEC classification is "Apparent Child

   Pornography (Unconfirmed)"; correct?            That's in the first

   field?


            A.   That's what it says here.

            Q.   And the information other than the file

   names



            A.   There's a second line there as well.

            Q.   It says, "Files Not Reviewed by NCMEC";

   correct?


            A.   Correct.


            Q.   And the information in Section C other than the

   file names is not information that was provided by

   Dropbox; correct?
                                                                                j
            A.   That's correct.                                            |
                                                                                !

            Q. When -- how does a file get initially flagged                |
   for review in May of 2020?

            A.   At that time, there's a variety of ways, one of

    which could be a user report.         So what that means is

   somebody, you know, flagging or reporting a Dropbox link

    to Dropbox themselves.        Another means, at the time, could

    be through, you know, industry-wide detection methods.

    Like, a very common one is called PhotoDNA, which uses

    hash-matching technology.        I can't think of other means


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   at the    moment.


           Q.    Does the information by Dropbox include the

   date and time when the file was accessed or downloaded or

   uploaded?

           A.    I'm not sure   at the   moment.


            Q.   Do you know by looking at Exhibit A or some

   other record when the reviewer actually received the

   report regarding the files that were the subject of the

   CyberTip?

           A.    Could you rephrase?

            Q.   Sure.

                 Do you know when the reviewer who reviewed the

   files that resulted in the CyberTip that's Exhibit No. 1

   actually conducted their review?

            A,   At this moment in time, I don't know.

            Q.   Other than the answer "Yes" regarding "Did ESP

   view entire contents of uploaded file," is any other part

   of the information contained in Exhibit A -- strike

   that -- of Section A of Exhibit 1 automatically

   generated?

            A.   Upon classifying and reviewing content, if it

   is true CSAM, things like an IP address would be

   populated just in the same way that the answer "Yes"

   would be populated.

            Q.   One of the things that they have for each file

   is "Did Reporting ESP view the EXIF of uploaded file?"


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 j Do you see that?                                                             50


             A.    Yes.   And it says the information is not

      provided by the company.

 I           Q.    Right.   Does the EXIF file indicate when the
 I


 j image or video was created or when it was reviewed?

  I                MS. DAVIS: Objection. Relevance.
 I                 THE COURT:      Yeah.    I'm not sure what an EXIF
      file   is.


             Q.    BY MR. BARTON:      Then let me try this question:

 ; Can you tell us what an EXIF file is?

  1                THE COURT:      Thank you.

  ;                THE WITNESS:      I actually can't.   It doesn't
  i
 { look like it's information provided.
  !



                   THE COURT:      That is, when you say "It doesn't

      look like it's information provided," by Dropbox?

                   THE WI'fNESS:     I'm assuming when it says not
  I provided by company, "company" here is referring to

  i Dropbox.

                   THE COURT:      Thank you.

                   You have to remember you guys have the

      advantage of looking at that.          I'm in the dark over here.

 i Thank you.
  I




             Q.    BY MR. BARTON:     Do you know whether the

      reviewer who is reviewing the material has access to this

      EXIF file?


                   MS. DAVIS:      Objection.   Relevance.   Lack of


                                    ROUGH   DRAFT
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    personal knowledge.

                THE COURT;       Yeah.   I'm not sure it is relevant


    because if I understand correctly, the document indicates

    that that file is not created by Dropbox.             So I'm not

    sure what is it they're accessing.

           Q.   BY MR. BARTON:       Do you know what an EXIF file

    is?


                MS. DAVIS:      Same objection.

                THE COURT:      That's overruled because it may be

    foundational to the whole thing.           I don't know.

                THE   WITNESS:    No.


                THE COURT:       You folks have the disadvantage of

    coming into the most computer illiterate courtroom in the

    entire building.

                MR. BARTON:      I have no further questions for

    this witness.

                THE COURT:      Thank you.

                Anything else, Ms. Davis?

                MS. DAVIS:      Very briefly. Your Honor.

                THE COURT:      Please go ahead.

                           REDIRECT EXAMINATION


           Q.   BY MS. DAVIS:      Is it Dropbox's policy and

    procedure that the reviewer review the entirety of the

   file?


                MR. BARTON:      Objection.     Vague as to time.

                THE COURT:     I'm assuming it's based on -- the


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                                                                                52
   question is based on his current knowledge and his

   understanding that the procedures haven't changed.

                 Is that the thrust of your question, ma'am?

                 MS. DAVIS:       Yes, Your Honor.

                 THE COURT:       I'll allow it.   Go ahead.

                 THE   WITNESS:     Yes.


            Q.   BY MS. DAVIS:       And lastly, then, from looking

   at People's 1, is it your opinion that this is, in fact,

   a CyberTip generated or the information contained within

   generated from the Dropbox legal team?

            A.   The information in this CyberTip?

            Q.   So basically is this a CyberTip that was

   generated based on information from Dropbox?

            A.   Yes.


                 MS. DAVIS:       Nothing further. Your Honor.

                 THE COURT:       All right.   Thank you.

                 Mr. Barton, anything else?

                 MR.    BARTON:    Yes.


                             RECROSS-EXAMINATION


            Q.   BY MR. BARTON:       Exhibit 1 isn't a Dropbox file,

   isn't a Dropbox document; correct?

                 MS. DAVIS:       Objection.   Asked and answered.

                 THE COURT:       Yeah.    I'm aware it's not a Dropbox

   file .


            Q.   BY MR. BARTON:       And some of the material

    contained in this was not created by Dropbox?


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                                                                                S •!
                MS. DAVIS:     Objection.     Asked and answered.

                THE COURT:     Yeah.    Sustained.     We already have

   those in.


                MR. BARTON:     All right.

                THE COURT:     It's -- the tip is generated based

   on information from Dropbox, but not everything in the

   tip was provided by Dropbox.

                MR. BARTON:     Right.

                THE COURT:     Even somebody as slow as me could

   keep up with that.

                MR. BARTON:      The purpose of my asking was to

   try to show that this doesn't qualify as a business

   record of Dropbox.

                THE COURT:     No, I understand that.

                MR. BARTON:      Then I have no further questions.

                THE COURT:     All right.     Thank you.

                Anything else then, ma'am?

                MS. DAVIS:     No, Your Honor.

                THE COURT:     May this witness be excused?

                MS. DAVIS:     Yes, Your Honor.

                MR. BARTON:      Yes, Your Honor.

                THE COURT:     Thank you very much, Mr. Wulff.           We

   appreciate the time you've given us and your patience

   with all of us.       You are excused.

                THE WITNESS:      Thank you. Your Honor.

                THE COURT:     Next witness.



                                 ROUGH DRAFT
